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6                        UNITED STATES DISTRICT COURT, WESTERN
7
                           DISTRICT OF WASHINGTON AT TACOMA

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10             UNITED STATES OF AMERICA,
11                                       Plaintiff,           NO. CR05-5208FDB
12                                                            ORDER GRANTING MOTION
                 v.
13                                                            TO EXTEND THE FILING
               JOSE GALEANA,                                  TIME FOR MOTIONS
14             GENARO MATA-ABARCA,
               JORGE GALEANA-ABARCA,
15
               SIMONE MATA-HERNANDEZ,
16
                                         Defendants.
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19                    Upon the joint motion of defendant Galeana and the United States

20        to extend the due dates for the pretrial motions in the above captioned
21
          case, the Court finds that such a continuance would serve the ends of
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          justice and the due administration of law, and outweigh the best interests of
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          the public and the defendant in trial; therefore,
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25                    IT IS HEREBY ORDERED that the pretrial motions and

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          ORDER GRANTING STIPULATED
                                                                     LAW OFFICES
          MOTION TO EXTEND MOTIONS CUT-
                                                                  MARY KAY HIGH
          OFF DATE - 1                                          109 TACOMA AVENUE NORTH
                                                               TACOMA, WASHINGTON 98403
          []                                                           (253) 572-6865
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          memorandum in support in the above captioned case be continued from
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          June 10, 2005 to June 17, 2005 and reply briefs due on June 27, 2005.
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                   DONE this 17th day of June 2005

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7                                                 /s/ Franklin D Burgess        _
                                                 The Honorable Franklin Burgess
8
                                                 UNITED STATES DISTRICT
9                                                COURT JUDGE
          Presented by:
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          Mary Katherine High
12        Mary Kay High
          Attorney for defendant
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          ORDER GRANTING STIPULATED
                                                                  LAW OFFICES
          MOTION TO EXTEND MOTIONS CUT-
                                                               MARY KAY HIGH
          OFF DATE - 2                                       109 TACOMA AVENUE NORTH
                                                            TACOMA, WASHINGTON 98403
          []                                                        (253) 572-6865
